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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 ASSOCIATED RECOVERY, LLC,                      §
                                                §
                    Plaintiff,                  §
                                                §
 v.                                             §       Civil Action No. 3:16-CV-1025-L
                                                §
 ADAM STRONG, et. al.,                          §
                                                §
                    Defendants.                 §

                                             ORDER

       Before the court is Plaintiff’s Notice of and Motion for Voluntary Dismissal, filed April

10, 2018. The court determines that the motion should be, and is hereby, granted. Accordingly,

all claims Plaintiff Associated Recovery, LLC asserted against Defendants Adam Strong and

Strong, Inc. are dismissed with prejudice.

       It is so ordered this 11th day of April, 2018.




                                                    _________________________________
                                                    Sam A. Lindsay
                                                    United States District Judge




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